977 F.2d 571
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert CRISP, Petitioner-Appellant,v.Edward W. MURRAY, Director, Virginia Department ofCorrections, Respondent-Appellee.
    No. 92-6595.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 31, 1992.Decided Sept. 28, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk, No. CA-91-776-2;  Robert G. Doumar, District Judge.
      Robert Crisp, appellant pro se.
      Richard Bain Smith, Asst. Atty. Gen., Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before PHILLIPS, WILKINSON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Robert Crisp seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Crisp v. Murray, No. CA-91-776-2 (E.D.Va. May 28, 1992).   In addition, we deny Crisp's motion to strike Appellee's brief because it is without merit.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    